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EXHIBIT 3

 
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October 28, 2014

Dr. Pavel Naumov
5301 Musket Court
Rockville, MD 20853

Dear Dr. Naumov,

The Grievance Committee has finished deliberations coming to a decision on October 27, 2014 regarding
the Title IX grievance filed on September 8, 2014 naming you as the Respondent and Dr. Jeanine Stewart

as the Complainant.
The decision rendered is as follows:

Responsible for the complaint of harassment

Not responsible for the complaint of stalking

Responsible for the complaint of hostile environment

Responsible for the action of retallation through a filing of a counter claim of harassment
while in process

Penne

The procedures for appealing the Grievance Committee’s finding can be found in the McDaniel Title IX
policy.

You are reminded that you are strictly prohibited from attempting to communicate in any form or
retaliate against any employee or person otherwise related to this grievance. You are also reminded
that pending final resolution of this grievance, you are still prohibited from being on any property

owned by McDaniel College unless you have pre-arranged the visitation by providing me with at least 48
hours’ prior notice.

 

Director of Human Resources
Title 'X Coordinator

 

 

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